              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                               1:06CR30-1
                                1:06cr30-2

UNITED STATES OF AMERICA,                                 )
                                                          )
Vs.                                                       )              ORDER
                                                          )
BILLY JOE SANDERS; and                                    )
TAMMIE RAINES SANDERS.                                    )
__________________________________                        )

       THIS MATTER is before the court upon defendants’ “Motion” (#39). From the

outset, it appears that defendants have failed to include in such motion a certificate of

service, and the court will deny such motion summarily for such procedural failure. Further,

the information defendants seek to have this court disclose - - results of drug screens

conducted by pretrial services - - is not for use in this criminal case and is, by law,

“confidential.” 18 U.S.C. § 3153. No exception to Section 3153 confidentiality is provided

for defendants’ intended use of such material, i.e., a civil custody proceeding in state court.

Section 3153 provides in relevant part, as follows:

       (1)    Except as provided in paragraph (2) of this subsection, information
              obtained in the course of performing pretrial services functions in
              relation to a particular accused shall be used only for the purposes of a
              bail determination and shall otherwise be confidential. Each pretrial
              services report shall be made available to the attorney for the accused
              and the attorney for the Government.
       (2)    The Director shall issue regulations establishing the policy for release
              of information made confidential by paragraph (1) of this subsection.
              Such regulations shall provide exceptions to the confidentiality
              requirements under paragraph (1) of this subsection to allow access to
              such information—




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             (A)    by qualified persons for purposes of research related to the
                    administration of criminal justice;
             (B)    by persons under contract under section 3154 (4) of this title;
             (C)    by probation officers for the purpose of compiling presentence
                    reports;
             (D)    insofar as such information is a pretrial diversion report, to the
                    attorney for the accused and the attorney for the Government;
                    and
             (E)     in certain limited cases, to law enforcement agencies for law
                    enforcement purposes.

18 U.S.C. § 3153(c). Having considered defendants’ Motion and reviewed the pleadings, the

court enters the following Order.




                                        ORDER

      IT IS, THEREFORE, ORDERED that defendants’ Motion is DENIED.



                                                 Signed: November 6, 2006




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